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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Maryland [=]

LESTER LEE )
)
)
)
Plaintiff(s) )

v. Civil Action No, 8:24-cv-1205
BROOKSIDE PARK CONDOMINIUM, INC., )
METROPOLIS (AKA MCM, INC.), RAMMY )
AZOULAY, AND CHARLES SAVOY )
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

CHARLES LAMONT SAVOY
7906 Prentice Ct
Fort Washington, MD 20744

To: (Defendant's name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: ..

Richard Rosenthal

545 E. Jericho Turnpike
Huntington Station, NY 11746

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: 5/31/24

Signature of Clerk or Deputy Clerk
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Civil Action No. 8:24-cv-1205

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. B 4 (Q)

This summons for (name of individual and title, if any) CHARLES LAMONT SAVOY was received by me on (date) Jun 3,
2024. ——

I personally served the summons on the individual at (place) 7906 Prentice Court, Fort Washington, MD 20744 on
(date) Mon, Jun 10 2024 ; or

[| I left the summons at the individual’s residence or usual place of abode with (name) ,a
person of suitable age and discretion who resides there, on (date) , and mailed a copy to
the individual’s last known address; or

[| I served the summons on (name of individual) , Who is designated by law to accept service
of process on behalf of (name of organization) on (date) 3; or

[|] T returned the summons unexecuted because: 3; Or

[| Other: 3 or

My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date: 06/12/2024  —

Server's signature

Monet Ballard

Printed name and title

9 Westminster Shopping Center #384, Westminster MD 21157

Server's address

Additional information regarding attempted service, etc.:
1) Unsuccessful Attempt: Jun 5, 2024, 12:46 pm EDT at Home: 7906 Prentice Court, Fort Washington, MD 20744
Knocked but got no answer. No cars seen and no movement heard

2) Unsuccessful Attempt: Jun 6, 2024, 10:18 pm EDT at Home: 7906 Prentice Court, Fort Washington, MD 20744
Not no answer no movement inside no cars parked in the driveway

3) Successful Attempt: Jun 10, 2024, 11:27 am EDT at Home: 7906 Prentice Court, Fort Washington, MD 20744 received by
CHARLES LAMONT SAVOY . Age: 60; Ethnicity: African American; Gender: Male; Weight: 220; Height: 6'2"; Hair: Black;
Eyes: Brown;

The recipient was served by delivering and leaving a true copy of the above referenced document(s).
